Case 2:23-ap-00009-FMD   Doc 27-7   Filed 07/13/23   Page 1 of 3




                    EXHIBIT 6
                             Case 2:23-ap-00009-FMD     Doc 27-7    Filed 07/13/23     Page 2 of 3




      Customer No: 06Y8554

                                                          Payment                Payment
Invoice Number        Type      Due Date    Premium         Date    Days Paid    Amount                     Payment Type
                                                   PRE-PREFERENCE PERIOD
     144733506786 Invoice        8/1/2018     $11,689.38
                  Payment                                 8/10/2018       9.00   ($11,689.38) Auto Payment - Checking $11,689.38
     144707563487 Invoice        9/1/2018      $4,610.33
                  Payment                                 9/12/2018      11.00       ($4,610.33) Auto Payment - Checking $4,610.33
     144711967817 Invoice       10/1/2018      $5,227.51
                  Payment                                10/11/2018      10.00       ($5,227.51) Auto Payment - Checking $5,227.51
     144732742343 Invoice       11/1/2018      $8,058.23
                  Payment                                11/13/2018      12.00       ($8,058.23) Auto Payment - Checking $8,058.23
     144781146294 Invoice       12/1/2018      $6,642.87
                  Payment                                12/12/2018      11.00       ($6,642.87) Auto Payment - Checking $6,642.87
     144761160099 Invoice        1/1/2019      $6,642.87
                  Payment                                 1/10/2019       9.00       ($6,642.87) Auto Payment - Checking $6,642.87
     144766583972 Invoice        2/1/2019      $6,642.87
                  Payment                                 2/12/2019      11.00       ($6,642.87) Auto Payment - Checking $6,642.87
     144719424694 Invoice        3/1/2019      $6,642.87
                  Payment                                 3/12/2019      11.00       ($6,642.87) Auto Payment - Checking $6,642.87
     144788021577 Invoice        4/1/2019      $6,642.87
                  Payment                                 4/10/2019       9.00       ($6,642.87) Auto Payment - Checking $6,642.87
     144750582501 Invoice        5/1/2019      $7,877.23
                  Payment                                 5/10/2019       9.00       ($7,877.23) Auto Payment - Checking $7,877.23
     144785161922 Invoice        6/1/2019      $6,786.21
                  Payment                                 6/12/2019      11.00       ($6,786.21) Auto Payment - Checking $6,786.21
     144760791444 Invoice        7/1/2019      $8,399.24
                  Payment                                 7/10/2019       9.00       ($8,399.24) Auto Payment - Checking $8,399.24
     144754262392 Invoice        8/1/2019      $9,794.86
                  Payment                                 8/12/2019      11.00       ($9,794.86) Auto Payment - Checking $9,794.86
     144742972915 Invoice        9/1/2019      $9,097.05
                  Payment                                 9/11/2019      10.00       ($9,097.05) Auto Payment - Checking $9,097.05
                                  Case 2:23-ap-00009-FMD            Doc 27-7       Filed 07/13/23     Page 3 of 3


          144796174582 Invoice        10/1/2019         $9,097.05
                       Payment                                      10/10/2019          9.00        ($9,097.05) Auto Payment - Checking $9,097.05
          144738847710 Invoice        11/1/2019         $9,097.05
                       Payment                                      11/13/2019         12.00        ($9,097.05) Auto Payment - Checking $9,097.05
          144741113379 Invoice        12/1/2019         $7,523.15
                       Payment                                      12/11/2019         10.00        ($7,523.15) Auto Payment - Checking $7,523.15
          144734729266 Invoice          1/1/2020        $8,310.10
                       Payment                                        1/10/2020         9.00        ($8,310.10) Auto Payment - Checking $8,310.10
          144702416670 Invoice          2/1/2020        $9,884.00
                       Payment                                        2/12/2020        11.00        ($9,884.00) Auto Payment - Checking $9,884.00
          144702111598 Invoice          3/1/2020        $9,097.05
                       Payment                                        3/11/2020        10.00        ($9,097.05) Auto Payment - Checking $9,097.05
          144731341790 Invoice          4/1/2020        $9,097.05
                       Payment                                        4/10/2020         9.00        ($9,097.05) Auto Payment - Checking $9,097.05
          144756539665 Invoice          5/1/2020        $9,097.05
                       Payment                                        5/12/2020        11.00        ($9,097.05) Auto Payment - Checking $9,097.05
          144746431644 Invoice          6/1/2020        $9,097.05
                       Payment                                        6/10/2020         9.00        ($9,097.05) Auto Payment - Checking $9,097.05
          144738581156 Invoice          7/1/2020        $6,389.34
          144726098700 Invoice          7/1/2020      ($1,249.04)
                       Payment                                     7/10/2020            9.00        ($5,140.30) Auto Payment - Checking $5,140.30
                                                              PREFERENCE PERIOD
          144776362116 Invoice          8/1/2020        $6,816.52
                       Payment                                     8/12/2020           11.00        ($6,816.52) Auto Payment - Checking $6,816.52
          144700475505 Invoice          9/1/2020        $6,816.52
                       Payment                                     9/10/2020            9.00        ($6,816.52) Auto Payment - Checking $6,816.52
          144753537878 Invoice        10/1/2020         $6,816.52
                       Payment                                    10/13/2020           12.00        ($6,816.52) Auto Payment - Checking $6,816.52

                        Median       Average
                        Payment      Payment      Range Payment     Average
                        Days         Days         Days              Invoice
Pre-Preference Period          10.00         10.1 9-12                 $7,976.80
Preference Period:             11.00         10.7 9-12                 $6,816.52
